Case 1:19-cv-02070-JDB Document 20-7 Filed 09/02/21 Page 1of1
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poe pio 7S o lars oe el fark No. 641 Enghelab Ave. 2nd. Fl. ISSATIS, Tehran, Iran

oa “ye lyfe ole Tel: (009821 } 8827256 - 8846604 Telefax: 8840919

Official Translation From Persian Text

Emblem
Islamic Republic of Iran

Ministry of the Interior.
State Organization for Reg. of Census and Civil Status.

Serial No.: A/12 808344

IDENTITY CARD(BIRTH CERTIFICATE)

I.D. Card No. :14018

Name: AZADEH
Surname: Pp OURZAND

Date of Birth:08 Jan, 1985 |

Sex: Female

Place of Birth: Tehran

PARENTS:

NAME I.D, Card No. Issue Place

Father: Siamak 58] Tehran-2
Mother: Mehrangtz 354 Ahwaz?

Date of Issue :20 Jan. 71988
Place of Issue:Tehran-7 ©

Signed & Sealed:
Responsible Office holder for Civi] Status Registration

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True transtation fs certified.

Tehran, Iran Permit # Aa we Syed
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Official English Tanglator BAR
Justice Administration
